          Case 1:10-cr-00057-LJO Document 36 Filed 07/01/10 Page 1 of 2


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 4
 5   Attorney for Defendant, CAMRON PATELZICK
 6
 7
 8                         IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                  EASTERN DISTRICT OF CALIFORNIA
10   THE UNITED STATES OF AMERICA,                     )        CASE NUMBER: 1:10-CR-00057-LJO
                                                       )
11                           Plaintiff,                )
                                                       )
12   v.                                                )        WAIVER OF PERSONAL PRESENCE OF
                                                       )        CAMRON PATELZICK
13   CAMROM PATELZICK,                                 )
                                                       )
14                           Defendant.                )
                                                       )
15
16           The undersigned defendant CAMRON PATELZICK, hereby acknowledges that he is the
17   defendant named above, and further acknowledges that he has been advised of his right to appear
18   personally at any hearing or proceeding before this Court, including, but not limited to, proceedings that
19   involve questions of law, and any subsequent status/pretrial conferences. Understanding these rights,
20   and having conferred with his undersigned counsel, defendant PATELZICK does hereby freely and
21   voluntarily waive his right to be present at any such proceedings or hearings, except as otherwise
22   directed by this Court, and hereby requests that this Court proceed during every absence of the defendant
23   that the Court may permit pursuant to this waiver.             Defendant PATELZICK further hereby
24   acknowledges and agrees that his interests are represented at all times by the presence of his attorney
25   the same as if the defendant was personally present in court, and further agrees that notice to his attorney
26   that his presence in court on a particular day, at a particular time, is required is notice to the defendant
27   of the requirement of his appearance at that time and place.            Defendant PATELZICK further
28   acknowledges that he has been informed of his rights and authorizes his attorney to set hearings at times
         Case 1:10-cr-00057-LJO Document 36 Filed 07/01/10 Page 2 of 2


 1   and days without defendant being present.
 2
 3   DATED: June ___, 2010                                  ______________________________
                                                            CAMRON PATELZICK
 4
 5
 6   DATED: June ___, 2010                                  ______________________________
                                                            SALVATORE SCIANDRA
 7                                                          Attorney for Defendant,
                                                            CAMRON PATELZICK
 8
 9                                                ORDER
10
     IT IS SO ORDERED.
11
     Dated:    July 1, 2010                          /s/ Lawrence J. O'Neill
12   b9ed48                                      UNITED STATES DISTRICT JUDGE
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